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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
CARLOS FIGUEROA,
       Plaintiff,

-vs-                                           CASE NO.: 8:15-CV-02381-VMC-TBM
BANK OF AMERICA, N.A.,
       Defendant.
______________________________/
                                   NOTICE OF SETTLEMENT
       Plaintiff, CARLOS FIGUEROA, by and through his undersigned counsel, hereby submits

this Notice of Pending Settlement and states that Plaintiff and Defendant BANK OF AMERICA,

N.A., have reached a settlement with regard to this case and are presently drafting, finalizing and

executing the settlement and dismissal documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.

                                  CERTIFICATE OF SERIVCE
       I HEREBY CERTIFY that on this 20th day of June, 2016, I caused a copy of the foregoing

to be electronically filed with the Clerk of the District Court using the CM/ECF system, which

will provide electronic notice of filing to all counsel of record.



                                                       _/s/ David Mitchell______
                                                       David P. Mitchell, Esquire
                                                       Consumer Protection Department
                                                       MANEY & GORDON, P.A.
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                                                       Tampa, Florida 33634
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